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EXHIBIT WW
Case 2:0

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PROOF OF PERSONAL — HAND DELIVERY

In the Matter of the Conservatorship of the Person and Estate of BRITNEY JEAN SPEARS
Case No. BP 108 870

Judge: Reva G. Goetz

Dept: 9

I am a member of the law firm of Luce, Forward, Hamilton & Scripps LLP, whose address
is 601 South Figueroa, Suite 3900, Los Angeles, California 90017-5832. I am over the age of
eighteen years, and am not a party to this action. I am employed in the County of Los Angeles,
State of California. My business address is 601 S. F igueroa, Suite 3900, Los Angeles, California
90017.

On February 7, 2008, I personally served true copies of the following documents described
as:

1. EX PARTE APPLICATION FOR ORDER: (1) GRANTING POWER TO FIRE HOWARD
GROSSMAN; (2) REQUIRING HOWARD GROSSMAN TO TURN OVER ALL DOCUMENTS
AND RECORDS; AND (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS; MEMORANDUM OF POINTS AND AUTHORITIES

2. DECLARATION OF VIVIAN LEE THOREEN IN SUPPORT OF EX PARTE APPLICATION
FOR ORDER: (1) GRANTING POWER TO FIRE HOWARD GROSSMAN; (2) REQUIRING
HOWARD GROSSMAN TO TURN OVER ALL DOCUMENTS AND RECORDS RELATING
TO BRITNEY SPEARS; & (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS;

3. DECLARATION OF JEFFREY D. WEXLER IN SUPPORT OF EX PARTE APPLICATION
FOR ORDER: (1) GRANTING POWER TO FIRE HOWARD GROSSMAN; (2) REQUIRING

TO BRITNEY SPEARS; & (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS;

4. DECLARATION OF GERALDINE A. WYLE IN SUPPORT OF EX PARTE APPLICATION
FOR ORDER: (1) GRANTING POWER TO FIRE HOWARD GROSSMAN; (2) REQUIRING
HOWARD GROSSMAN TO TURN OVER ALL DOCUMENTS AND RECORDS RELATING
TO BRITNEY SPEARS; & (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS;

5. DECLARATION OF JERYLL S. COHEN IN SUPPORT OF EX PARTE APPLICATION F OR
ORDER: (1) GRANTING POWER TO FIRE HOWARD GROSSMAN; (2) REQUIRING
HOWARD GROSSMAN TO TURN OVER ALL DOCUMENTS AND RECORDS RELATING
TO BRITNEY SPEARS; & (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS;

6. [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR ORDER: (LD
GRANTING POWER TO FIRE HOWARD GROSSMAN; (2) REQUIRING HOWARD
GROSSMAN TO TURN OVER ALL DOCUMENTS AND RECORDS RELATING TO
BRITNEY SPEARS; & (3) TO TURN OVER ALL ASSETS RELATING TO BRITNEY
SPEARS,

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1 || on the interested parties in this action as follows:

2 Samuel D. Ingham, Esq. (served at the Courthouse)
9440 Santa Monica Blvd., Ste. 510

3 Beverly Hills, CA 90210

4 Andrew M. Wallet, Esq. (served at the Courthouse)
Hinojosa & Wallet

5 2215 Colby Ave.

Los Angeles, CA

6
I declare under penalty of perjury under the laws of the State of California that the
7 |j foregoing is true and correct.
8
9

Executed on F ebruary 7, 2008, at Los Angeles, California

: (L

Vivian L. Thoreen

